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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 23-CR-60129-KMM
                                     18 u.s.c. § 371
                                     26 u.s.c. § 7201

   UNITED STATES OF AMERICA

          v.

   MICHAEL L. MEYER

                 Defendant.
   - - - - - - - - - - - - - -I
                                 SUPERSEDING INFORMATION

          The Deputy Assistant Attorney General charges that:

                                             Introduction

          At times relevant to this Information:

          1.     MICHAEL L. MEYER was a resident of Evansville, Indiana until in or around

   2015. Since 2015, MEYER was a resident of Davie and Southwest Ranches, Florida in the

   Southern District of Florida. MEYER was an attorney licensed to practice law in Indiana and

   Kentucky. MEYER represented that he had the fo llowing licenses and accreditations: Certified

   Public Accountant, Master of Business Administration, and certified valuation appraiser.

          2.      Since 1999, MEYER organized, marketed, and sold an illegal tax shelter called,

   among other things, the Ultimate Tax Plan. MEYER and his co-conspirators marketed the

   Ultimate Tax Plan as a way for high-income clients to claim a charitable contribution tax

   deduction by purportedly donating assets to charity without giving up control of the "donated"

   assets. MEYER told clients that the plan allowed them to loan their "donated" assets back to

   themselves and allowed them to buy back their "donations" at a significantly discounted price
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   after three years. This was false and illegal. To claim a charitable contribution tax deduction,

   the taxpayer must completely relinquish dominion and control over the donated property and

   may not retain use of the donated property or expect a substantial benefit in return.

          3.      As part of the plan, MEYER created boilerplate transaction documents to use

   with clients, prepared appraisals of the purported donations, prepared and signed IRS Appraisal

   Forms for clients, assisted in the preparation of federal and state tax returns, controlled the

   charities that received the purported donations through nominees, and represented clients who

   were audited by the Internal Revenue Service ("IRS").

          4.      MEYER and his co-conspirators created backdated documents for clients to

   illegally claim charitable contribution tax deductions after the close of the tax year.

                                    Related Entities and Individuals

          5.      In or about October 2012, MEYER established Kingdom Advisors, LLC with the

   Indiana Secretary of State. MEYER used Kingdom Advisors to provide clients with accounting,

   business, and appraisal services.

          6.      Rao Garuda was President and Chief Executive Officer of Associated Concepts

   Agency, Inc. ("ACA"), a financial planning firm located in Cuyahoga County, Ohio. Beginning

   in or about January 2013 , Garuda assisted MEYER by marketing and implementing the Ultimate

   Tax Plan to clients.

          7.      Cullen Fischel worked at ACA from May 2015 through August 2020.

           8.     National Endowment Association, Inc. ("NEA") was an Indiana nonprofit

   organization incorporated on or about August 5, 1999. Under 26 U.S.C. § 50l(c)(3), NEA was

   exempt from federal taxes. MEYER, his father, and his mother were officers ofNEA.



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          9.        Grace Heritage Corporation ("Grace Heritage") was an Indiana nonprofit

   organization formed in or about February 2007. Under 26 U.S.C. § 501(c)(3), Grace Heritage
                I




   was exempt from federal taxes. MEYER's father and mother were the initial officers of Grace

   Heritage. Later, Individual A and then MEYER became officers of Grace Heritage.

          10.       Indiana Endowment Fund, Inc. ("IEFund") was an Indiana nonprofit organization

   formed in or about January 2006. Under 26 U.S.C. § 501(c)(3), IEFund was exempt from

   federal taxes. MEYER, his father, and his mother were initially officers of IEFund. In or about

   2012, Individual A became an officer of IEFund and, in or about 2013, Individual B became an

   officer of IEFund.

          11.       Indiana Endowment Foundation, Inc. ("IEFoundation") was an Indiana nonprofit

   organization formed in or about June 2016. Under 26 U.S.C. § 501(c)(3), IEFoundation was

   exempt from federal taxes. Individuals A and B were listed as the officers of IEFoundation.

          12.       Compassion Beyond Borders, Inc. ("CBB") was a nonprofit organization

   established by Garuda in or about April 2016. Under 26 U.S.C. § 501(c)(3), CBB was exempt

   from federal taxes. Garuda and Fischel served as the President and Vice President, respectively.

          13.       Charity A was a Nevada nonprofit organization formed in or about 2018 . Under

   26 U.S.C. § 501(c)(3), Charity A was exempt from federal taxes. Individual C, a co-conspirator

   known to the Grand Jury, controlled Charity A.




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                              The Internal Revenue Service and Its Forms

           14.     The Internal Revenue Service ("IRS") was an agency of the United States

   Department of the Treasury responsible for administering the federal tax laws of the United

   States and collecting taxes owed to the United States.

           15.     An IRS Form 1040, U.S. Individual Income Tax Return, ("Form 1040") was a

   form used by U.S. taxpayers to report income, gains, losses, deductions, credits, and taxes that

   occurred during the tax year. A Form 1040X, Amended U.S. Individual Income Tax Return,

   ("Form 1040X") was a form used to amend a previously fi led income tax return.

           16.     An IRS Form 8283 , Noncash Charitable Contributions ("Appraisal Form 8283 "),

   was a form used to provide the appraised value, the date of the contributions, and other

   information for noncash charitable contributions made by taxpayers. The IRS required the

   Appraisal Form 8283 to be attached to income tax returns that claimed noncash charitable

   contributions over $500. If the noncash charitable contributions were over $5,000, then the

   donee organization that received the contribution and the appraiser who determined the value of

   the contribution are required to sign the Appraisal Form.

           17.     An IRS Form 990, Return of Organization Exempt from Income Tax, ("Form

   990") was a return filed by tax-exempt organizations to report information to the IRS, such as

   gross income, receipts, and disbursements.

           18.     A Closing Agreement on Final Determination Covering Specific Matters with the

   IRS ("Closing Agreement") was a written settlement agreement with the IRS that, among other

   things, conclusively settled an individual's or entity' s IRS status, tax liability or the tax

   consequences of a transaction.



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                               Charitable Contribution Tax Deductions

           19.    Taxpayers may claim a tax deduction on their tax return for a charitable

   contribution made within that tax year.

          20.     To claim a charitable contribution tax deduction, the taxpayer must completely

   relinquish dominion and control over the contributed property and may not retain enjoyment of

   the subject of the gift or otherwise expect a substantial benefit in return.

          21.     A taxpayer' s mere promise to pay a charity is not deductible. Likewise, a

   taxpayer's promissory note, given without consideration, to a charitable organization represents a

   mere promise to pay at some future date and is not a payment for purposes of a charitable

   contribution tax deduction. The taxpayer may claim a charitable contribution tax deduction in

   the tax year that the payments are actually made to the charity.

          22.     Taxpayers claiming a noncash charitable deduction of more than $5,000 must

   obtain a qualified appraisal of the property donated to charity. An appraisal is a "qualified

   appraisal" if it is, among other things, prepared, signed, and dated by a qualified appraiser and

   the fee paid to the appraiser is not prohibited. An appraisal fee is prohibited when it is based, in

   effect, on a percentage of the appraised value of the property.

          23.     Taxpayers may not claim a charitable contribution tax deduction unless he or she

   received a contemporaneous written acknowledgment from the donee organization that listed,

   among other things, a description of the donated property and a statement of whether the donee

   organization provided goods of services in consideration for the donation.




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                                                The Ultimate Tax Plan

                                      The Mechanics of the Ultimate Tax Plan

          24.         MEYER, Garuda, Fischel, and others organized, marketed, and implemented the

   Ultimate Tax Plan as a way for high-income clients to decrease their taxes on their income tax

   returns by claiming false charitable contribution tax deductions.

          25 .        The Ultimate Tax Plan involved the following steps:

                 a. MEYER formed a limited liability company or a partnership (an "Entity");

                 b. MEYER caused the client to transfer their asset, such as cash, securities, real

                      estate, and other business interests, to the Entity in exchange for 100% ownership

                      interest in the Entity;

                 c. MEYER caused the client to assign 99% or 100% ownership interest in their

                      Entity to a purported Charity controlled by MEYER or his co-conspirators (a

                      "Charity"), such as Grace Heritage, IEFund, IEFoundation, or CBB;

                 d. MEYER caused the client to sign paperwork, including an operating agreement

                      for the Entity according to which the client retained control of the Entity as

                      manager, a document issuing interests in the Entity to the client (an "issuance

                      document"), and an assignment document assigning the Entity interests to a

                      charity (an "assignment document"), (collectively, "Transaction documents");

                 e. MEYER provided a signed Appraisal Form 8283 in exchange for the assignment

                      of their Entity to the Charity. MEYER signed the Appraisal Form 8283 as the

                      appraiser, and a representative of the recipient charity also signed the form; and

                 f.   MEYER caused the client to falsely claim a charitable contribution tax deduction

                      on their federal tax return in the amount reported on the Appraisal Form 8283.

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                      The Marketing and Implementation of the Ultimate Tax Plan

          26.     MEYER trained Garuda, Fischel and others to market the Ultimate Tax Plan to

   clients as a way to grow assets tax-free within the client' s Entity and to pass the assets in the

   Entity to the client's heirs without paying any estate taxes.

          27.     MEYER, working with Garuda and Fischel, structured, marketed, and

   implemented the Ultimate Tax Plan to make it appear as if the clients made charitable donations

   on paper, but in reality, clients retained dominion and control over their "donated" Entities and

   assets. The Ultimate Tax Plan did not alter clients' access to their assets that were purportedly

   donated. Clients handled their business and property interests in substantially the same way both

   before and after the purported donations to the Charity.

          28.     MEYER, working with Garuda and Fischel, directed clients to use the donated

   assets for their own personal use by taking tax-free loans from the Entities.

          29.     MEYER, working with Garuda and Fischel, structured and implemented the

   Ultimate Tax Plan so that the Charity had no control over the Entities or the Entities' assets

   despite purportedly receiving the donation and owning the Entities on paper.

          30.     MEYER, working with Garuda and others, created and marketed an "exit

   strategy" to allow clients to buy back the donated ownership interest of their Entity from the

   Charity at a significantly discounted rate (the "exit strategy").

          31.     MEYER, working with Garuda and Fischel, instructed clients not to take any

   loans or complete the exit strategy within three years of claiming the charitable contribution tax

   deduction on their tax returns .

           32.    MEYER controlled NEA, Grace Heritage, IEFund, and IEFoundation through

   nommees.

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           33.    MEYER, working with Garuda and Fischel, advised clients to actually donate

   one percent of the funds to legitimate charities per year and in practice, only a small fraction of

   charitable tax deductions were donated to legitimate charities.

          34.     MEYER, working with Garuda and Fischel, caused some clients to sign

   promissory notes as the basis of their charitable contribution tax deductions.

          35.     MEYER falsely reported on Appraisal Forms 8283 that he was a qualified

   appraiser. MEYER also falsely certified that the appraisal fees he earned were not based on a

   percentage of the appraised property value.

          36.     MEYER and others caused the preparation of false tax returns that improperly

   claimed charitable contribution tax deductions on their tax returns despite knowing that

   contributions failed to constitute a gift for federal tax purposes.

                                            IRS Audit Activity

          37.     In or about May 2012, the IRS informed NEA that it sought to revoke NEA's tax-

   exempt status. On or about May 16, 2014, MEYER, on behalf ofNEA, signed a Closing

   Agreement that provided, among other things, that MEYER used NEA to promote a tax

   planning strategy using charitable deductions and that NEA did not qualify for tax exempt status.

          38.     After an audit of Grace Heritage, the IRS notified MEYER that it intended to

   revoke Grace Heritage's status as a tax-exempt charitable organization. In or about May 2017,

   MEYER, on behalf of Grace Heritage, signed a Closing Agreement that provided, among other

   things, that MEYER used Grace Heritage to promote a tax planning strategy using charitable

   deductions and that Grace Heritage did not qualify for tax exempt status.

          39.     In or around January 2015, the IRS informed MEYER of an audit ofIEFund. In

   or about May 201 7, MEYER, on behalf of IEFund, signed a Closing Agreement that provided,

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   among other things, that MEYER used IEFund to promote a tax planning strategy using

   charitable deductions and that IEFund did not qualify for tax exempt status.

                                     The Civil Injunction Lawsuit

           40.    To stop MEYER from promoting and selling his scheme, on April 3, 2018 , the

   United States filed a Complaint for Permanent Injunction and Other Relief against MEYER in

   the United States District Court for the Southern District of Florida (the "Injunction Suit").

           41.     During civil discovery in the Injunction Suit, the United States issued civil

   subpoenas to witnesses, including ACA and clients who executed the Ultimate Tax Plan, that

   requested the production of documents. The United States served document requests on

   MEYER that sought the production of documents related to the Ultimate Tax Plan.

           42.    On April 26, 2019, the United States District Court for the Southern District of

   Florida, by Court Order, entered a permanent injunction against MEYER that, among other

   prohibitions, barred him from organizing, promoting, marketing, or selling the Ultimate Tax

   Plan.

                                              Count One
                                Conspiracy to Defraud the United States
                                          (18 U.S.C. § 37 1)

           4 3.   From at least January 2013 through April 2021 , both dates being approximate and

   inclusive, in the Southern District of Florida and elsewhere, the defendant,

                                        MICHAEL L. MEYER,

   Rao Garuda, Cullen Fischel, and others did unlawfully, voluntarily, intentionally, and knowingly

   conspire, combine, confederate, and agree together and with each other, and with other

   individuals both known and unknown to the grand jury, to defraud the United States by

   impeding, impairing, obstructing, and defeating the lawful government functions of the IRS in

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   the ascertainment, computation, assessment, and collection ofrevenue, that is, U.S. individual

   income taxes.

                                  Manner and Means of the Conspiracy

          44.      The manner and means by which Defendant and his co-conspirators carried out

   the conspiracy included, but were not limited to, the following:

          45.      MEYER, Garuda, Fischel, and others designed, marketed, and implemented the

   Ultimate Tax Plan as a way for high-income clients to decrease their taxes on their income tax

   returns by claiming false charitable contribution tax deductions.

          46.      MEYER, Garuda, Fischel, and other co-conspirators, illegally backdated

   documents, including but not limited to Transaction documents, and prepared false Appraisal

   Forms 8283 to assist clients in claiming tax deductions after the close of the tax year, while fully

   knowing that a taxpayer may not claim a charitable contribution tax deduction unless the

   charitable contribution was made during that same tax year.

          47.      MEYER falsely reported on Appraisal Forms 8283 that he was a qualified

   appraiser, falsely certified that the appraisal fees he earned were not based on a percentage of the

   appraised property value, and falsely claimed that clients made a noncash charitable contribution.

          48.      MEYER, Garuda, Fischel and others assisted clients in filing Forms 1040 and

   1040X that falsely claimed charitable contribution tax deductions.

          49.      After the United States filed the Injunction Suit and issued civil subpoenas to

   ACA and clients, MEYER, working with Garuda, Fischel, and others, prepared backdated

   documents, including issuance documents, assignment documents, promissory notes, and written

   acknowledgements, and directed ACA and clients to submit them to the United States in

   response to the civil subpoenas.

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          50.     After the issuance of the permanent injunction by the United States District Court

   for the Southern District of Florida, MEYER, working with Garuda and Fischel, directed clients

   to transfer their ownership interests in their Entities to Charity A and informed them they could

   continue to operate the Ultimate Tax Plan.

          51.     MEYER charged and received fees for selling the Ultimate Tax Plan to

   taxpayers, including charging his clients a fee based on a percentage of the amount transferred to

   the Entity and an annual administration fee, typically $2,500 (the "administration fee.")

          52.     Since 2013 , MEYER and his co-conspirators earned more than $10 million from

   the execution of the Ultimate Tax Plan. MEYER spent that income on personal expenses,

   including to purchase a multi-million-dollar residential estate and a luxury vehicle collection,

   which included Lamborghinis, Rolls Royces, Mercedes Benzes, a Bentley, and a Ferrari.

                                                Overt Acts

          53.     In furtherance of the conspiracy and to bring about its purpose, the following

   overt acts, among others, were committed in the Southern District of Florida and elsewhere, by at

   least one conspirator:

          54.     In or about April and May 2016, at the direction of MEYER, Garuda established

   CBB. MEYER directed Garuda that when dealing with IRS that Garuda should "not get into the

   LLCs or our plan."

          55 .    On or about May 12, 2016, MEYER and Garuda prepared and caused to be filed

   with the IRS a false IRS Form 1023, Application for Recognition of Exemption Under Section

   501(c)(3) of the Internal Revenue Code, for CBB .




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                                                 Client 1

           56.        Between in or about April and August 2017, MEYER, Garuda, and Fischel

   marketed and sold the Ultimate Tax Plan to Client las a way for Client 1 to claim a false

   charitable contribution tax deduction for tax year 2016 and promoted, among other things, the

   "exit strategy."

           57.    In or about August 2017, MEYER, Fischel, and Garuda prepared and caused to

   be prepared for Client 1 a promissory note and Transaction documents. The promissory note and

   Transaction documents were backdated to 2016 to make it appear as if the Ultimate Tax Plan

   was executed in the prior year. Client 1 signed the backdated Transaction documents and

   promissory note.

           58.    In or about August 2017, following the directions of MEYER and Garuda, Client

   1 transferred his ownership interest in a real estate company to his Entity to purportedly pay off

   the promissory note. Despite purportedly transferring ownership of the real estate company,

   Client 1 operated the real estate company in substantially the same way both before and after the

   purported donations to CBB.

           59.    In or about September 2017, MEYER and Garuda prepared and caused to be

   prepared an Appraisal Form 8283 for Client 1 that falsely reported that Client 1 made a

   charitable contribution on December 31, 2016, valued at $400,500. MEYER falsely declared on

   the Appraisal Form 8283 that he was a qualified appraiser and that the appraisal fees were not

   based on a percentage of the appraised property value.

           60.        On or about October 18, 2017, MEYER, Garuda and Fischel assisted Client 1 in

   filing a false 2016 Form 1040X for Client 1 and his wife claiming a $400,500 charitable

   contribution tax deduction.

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           61.     On or about April 15, 2018, MEYER, Garuda, and Fischel assisted Client 1 in

   filing a false 2017 Form 1040 claiming a $176,770 charitable contribution tax deduction.

           62.    In or about August 2020, after the United States District Court entered the

   permanent injunction against MEYER in April 2019, MEYER discussed with Client 1 the exit

   strategy.

           63.    On or about April 5, 2021 , MEYER prepared and emailed to Client 1 a Schedule

   K-1 that claimed Client 1 had obtained back his ownership of his Entity.

                                                Client 2

           64.    Between in or about January and September 2017, MEYER marketed and sold

   the Ultimate Tax Plan to Client 2 as a way for Client 2 to claim a false charitable contribution tax

   deduction for tax year 2016.

           65.    In or about April 20 17, MEYER prepared and caused to be prepared Transaction

   documents for Client 2. The Transaction documents were backdated to 2016 to make it appear

   as if the Ultimate Tax Plan was executed in the prior year. Client 2 signed the backdated

   Transaction documents.

           66.    In or about September 2017, at the direction of MEYER, Client 2 transferred

   partial ownership of his company to the Entity and the Entity ' s ownership interests were

   purportedly donated to IEFoundation. Client 2 operated his company in substantially the same

   way both before and after the purported charitable donation to IEFoundation.

           67.    On or about September 7, 201 7, MEYER prepared and caused to be prepared an

   Appraisal Form 8283 for Client 2 that falsely reported that Client 2 made a charitable

   contribution on December 31 , 2016, valued at $881 ,100. MEYER falsely declared on the



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   Appraisal Form 8283 that he was a qualified appraiser and that the appraisal fees were not based

   on a percentage of the appraised property value.

          68.     On or about October 16, 2017, MEYER assisted Client 2 in filing a false 2016

   Form 1040 claiming an $881 ,100 charitable contribution tax deduction.

                                                Client 3

          69.     Between in or about July and October 2017, MEYER, Garuda, and Fischel

   marketed and sold the Ultimate Tax Plan to Client 3 as a way for Client 3 to claim a false

   charitable contribution tax deduction for tax year 2016.

          70.     In or about September 2017, MEYER prepared and caused to be prepared a

   promissory note and Transaction documents. The Transaction documents and promissory note

   were backdated to 2016 to make it appear as if the Ultimate Tax Plan was executed in the prior

   year. Client 3 signed the backdated Transaction documents and note.

          71.     In or about September 2017, MEYER, Fischel and Garuda prepared and caused

   to be prepared an Appraisal Form 8283 for Client 3 that falsely reported that Client 3 made a

   charitable contribution on December 31 , 2016, valued at $640,800. MEYER falsely declared on

   the Appraisal Form 8283 that he was a qualified appraiser and that the appraisal fees were not

   based on a percentage of the appraised property value.

          72.     On or about October 16, 2017, MEYER, Garuda, and Fischel assisted Client 3 in

   filing a false 2016 Form 1040 claiming a $640,800 charitable contribution tax deduction.

          73.     On or about October 1, 2017, at the direction of MEYER, Garuda, and Fischel,

   Client 3 opened a financial account in the name of their Entity and maintained sole signature

   authority. In or about October and November 2017, Client 3 transferred funds into the account



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   in purported payment of the promissory note. Client 3 spent most of the funds to purchase

   retirement annuities.

          74.     On or about October 15, 2018, MEYER, Garuda, and Fischel assisted Client 3 in

   filing a false 2017 Form 1040 claiming a $320,400 charitable contribution tax deduction.

                                                Client 4

          75.     Between in or about May and August 2016, MEYER, Garuda, and Fischel

   marketed and sold the Ultimate Tax Plan to Client 4 as a way for Client 4 to claim a false

   charitable contribution tax deduction for tax year 2015.

          76.     In or about August 2016, MEYER prepared and caused to be prepared a

   promissory note and Transaction documents. The Transaction documents and promissory note

   were backdated to 2015 to make it appear as if the Ultimate Tax Plan was executed in the prior

   year. Client 4 signed the backdated Transaction documents and promissory note.

          77.     In or about August 2016, MEYER and Garuda prepared and caused to be

   prepared an Appraisal Form 8283 for Client 4 that falsely reported that Client 4 made a

   charitable contribution on December 31 , 2015 , valued at $400,000. MEYER falsely declared on

   the Appraisal Form 8283 that he was a qualified appraiser and that the appraisal fees were not

   based on a percentage of the appraised property value.

          78.     On or about October 17, 2016, MEYER, Garuda and Fischel assisted Client 4 in

   filing a false 2015 Form 1040 claiming a $400,000 charitable contribution tax deduction.

          79.     On or about November 18, 2016, at the direction of MEYER, Garuda, and

   Fischel, Client 4 and his wife opened a financial account in the name of their Entity and

   maintained sole signature authority. In or about December 2016, Client 4 and his wife

   transferred funds into the account in purported payment of the promissory note. Client 4

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   withdrew over $1 million from his Entity ' s bank account for personal expenses, including

   constructing a ranch, building a swimming pool, and purchasing ATVs.

          80.     On or about April 15, 20 17, MEYER, Garuda, and Fischel assisted Client 4 in

   filing a false 2016 Form 1040 claiming a $320,400 charitable contribution tax deduction.

          81.     On or about October 9, 2018, MEYER, Garuda, and Fischel assisted Client 4 in

   filing a false 20 17 Form 1040 claiming a $320,400 charitable contribution tax deduction.

                                                Client 5

          82.     Between in or about June and August 20 17, MEYER, Garuda, and Fischel

   marketed and sold the Ultimate Tax Plan to Client 5 as a way for Client 5 to claim a false

   charitable contribution tax deduction for tax year 2016.

          83.     In or about June 2017, MEYER prepared and caused to be prepared a promissory

   note and Transaction documents. The Transaction documents and promissory note were

   backdated to 20 16 to make it appear as if the Ultimate Tax Plan was executed in the prior year.

   Client 5 signed the backdated Transaction documents and promissory note.

          84.     In or about August 2017, MEYER and Garuda prepared and caused to be

   prepared an Appraisal Form 8283 for Client 5 that falsely reported that Client 5 made a

   charitable contribution on December 31 , 20 16, valued at $200,250. MEYER falsely declared on

   the Appraisal Form 8283 that he was a qualified appraiser and that the appraisal fees were not

   based on a percentage of the appraised property value.

          85 .    On or about August 31, 2017, MEYER, Garuda, and Fischel assisted Client 5 in

   filing a false 2016 Form 1040 claiming a $200,250 charitable contribution tax deduction.

          86.     In or about September 4, 2017, at the direction of MEYER, Garuda, and Fischel,

   Client 5 and his wife opened a financial account in the name of their Entity and maintained sole

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   signature authority. In or about September 2017, Client 5 transferred funds into the account in

   purported payment of the promissory note. Client 5 spent most of the funds to purchase

   retirement annuities.

          87.     On or about August 27, 2018, MEYER, Garuda, and Fischel assisted Client 5 in

   filing a false 2017 Form 1040 claiming a $200,250 charitable contribution tax deduction.

                                                   Client 6

          88.     Between in or about June and October 2013, MEYER and Garuda marketed and

   sold the Ultimate Tax Plan to Client 6 as a way for Client 6 to claim a false charitable

   contribution tax deduction for tax year 2012.

          89.     In or about June 2013 , MEYER prepared and caused to be prepared a promissory

   note and Transaction documents. The Transaction documents and promissory note were

   backdated to 2012 to make it appear as if the Ultimate Tax Plan was executed in the prior year.

          90.     In or about June 2013, MEYER and Garuda prepared and caused to be prepared a

   false Appraisal Form 8283 for Client 6 that falsely reported that Client 6 made a charitable

   contribution on December 31 , 2012, valued at $391 ,500. MEYER falsely declared on the Form

   8283 that he was a qualified appraiser and falsely certified that the appraisal fees were not based

   on a percentage of the appraised property value.

          91.     On or about October 23 , 2013 , MEYER and Garuda assisted Client 6 in filing a

   false 2012 Form 1040 claiming a $391 ,500 charitable contribution tax deduction.

          92.     On or about December 19, 2016, Fischel told MEYER that Client 6 had not paid

   off the promissory note that formed the basis of the 2012 charitable tax deduction and owed

   $499,272 on the note. In response, MEYER advised: " [Client 6] is past his statute so I am not

   really worried about him."

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          93.     On or about October 18, 2019, MEYER lied to the representative of Charity A by

   stating that Client 6 "contributed a Promissory note in 2012 and paid it off. It was $SOOK."

          94.     In or about December 2019, MEYER, Garuda, and Fischel caused documents to

   be created that purportedly showed the ownership interest in Client 6' s Entity to be transferred

   from CBB to Charity A.

                                                Client 7

          95.     Between in or about December 201 6 and February 2017, MEYER, Garuda, and

   Fischel marketed and sold the Ultimate Tax Plan to Client 7 as a way for Client 7 to claim

   charitable contribution tax deductions.

          96.     In or about February 20 17, after Attorney 1 advised that "the transaction is clearly

   fraudulent and will not withstand scrutiny from the IRS for a whole host of reasons," MEYER

   falsely represented in a telephone call with Garuda, Fischel, Client 7, Attorney 1 and others that

   the IRS did not question his plan.

          97.     In or about February 2017, MEYER agreed to sign Client 7's tax return after

   Client 7's accountants informed MEYER that they would not sign Client 7's tax return claiming

   the charitable contribution tax deduction.

          98.     In or about February 2017, MEYER and Garuda prepared and caused to be

   prepared an Appraisal Form 8283 for Client 7 that falsely reported that Client 7 made a

   charitable contribution on December 31 , 20 16, valued at $360,450. MEYER false ly declared on

   the Appraisal Form 8283 that he was a qualified appraiser and that the appraisal fees were not

   based on a percentage of the appraised property value.

          99.     On or about September 21, 2017, MEYER and Garuda assisted Client 7 in filing

   a false 20 16 Form 1040 claiming a charitable contribution deduction in the amount of $360,450.

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          100.    On or about May 14, 2018 , MEYER and Garuda assisted Client 7 in filing a false

   2017 Form 1040 claiming a charitable contribution deduction in the amount of $1,222,763.

          101.    On or about December 22, 2016, at the direction of MEYER, Garuda, and

   Fischel, Client 7 opened a financial account in the name of his Entity and maintained sole

   signature authority with his wife. Client 7 spent most of the funds on retirement annuities.

          102.    After the United States District Court entered the permanent injunction against

   MEYER in April 2019, on or about August 8, 2019, MEYER advised Client 7 on the Ultimate

   Tax Plan.

          103 .   On or about March 27, 2020, MEYER advised Client 7 regarding the transfer of

   ownership of his Entity to Charity A.

                                                 Client 8

          104.    In 2014, MEYER and Garuda marketed and sold the Ultimate Tax Plan to Client

   8 as a way for Client 8 to claim a false charitable contribution tax deduction for tax year 2013.

          105.    On or about April 13, 2014, MEYER and Garuda prepared and caused to be

   prepared an Appraisal Form 8283 for Client 8 that falsely reported that Client 8 made a

   charitable contribution on December 31 , 20 13, valued at $274,050. MEYER falsely declared on

   the Appraisal Form 8283 that he was a qualified appraiser and that the appraisal fees were not

   based on a percentage of the appraised property value.

          106.    On or about June 4, 2014, MEYER and Garuda assisted Client 8 in filing a false

   2013 Form 1040 claiming a $274,050 charitable contribution deduction.

          107.    On or about July 13, 2015 , MEYER and Garuda assisted Client 8 in filing a false

   2014 Form 1040 claiming a $314,000 charitable contribution deduction.



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          108.    On or about April 15, 2016, MEYER and Garuda assisted Client 8 in filing a

   false 2015 Form 1040 claiming a $320,000 charitable contribution deduction.

          109.    On or about July 12, 2017, MEYER participated in a conference call with Garuda

   and Client 8 and explained how the exit strategy worked:

                  [W]e are great with buyouts . ... The charity is basically controlled
                  by us. So we understand how this works and we understand what
                  we need to do in order to make that work .. . . The buyouts have
                  come back around $0.10 on the dollar. That's really what it usually
                  comes down to. So if you got $1 million in there and you want to
                  buy it back, it's going to cost you $100,000. Now, you' ll probably
                  save yourself $300,000 or $400,000 in income tax when you put
                  the $1 million in there, right, because you got the tax deduction.

                  So it' s always a win-win, you know, for you and our charity at the
                  same point in time.

                                                Client 9

          110.    In 2013 , MEYER and Garuda marketed and promoted the Ultimate Tax Plan to

   Client 9 as a way for Client 9 to claim a false charitable contribution tax deduction for 2012.

          111.    On or about the dates and amounts below, MEYER and Garuda assisted Client 9

   in filing false Forms 1040 claiming charitable contribution tax deductions as follows:

                  TAX           APPROXIMATE                CLAIMED CHARITABLE
                 YEAR           DATE OF FILING                 DEDUCTIONS
                  2012              9/9/2013                      $391 ,500
                  2013              10/9/2014                    $1 ,174,500
                  2014              8/7/2015                      $477,280
                  2015             10/13/2016                     $645 ,975
                  2016              10/9/2017                     $500,625
                  2017             10/10/2018                     $600,750
                 TOTAL                                           $3,790,630

          112.    In or around 2014, MEYER and Garuda caused the Charity to enter into a written

   agreement with Client 9 to memorialize the exit strategy.



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            113.   On or about April 20, 20 19, one day after MEYER signed a stipulation for entry

   of the permanent injunction, MEYER executed the exit strategy for Client 9 to purchase back

   their interest for $225,000.

            114.   On or about April 22, 20 19, MEYER deposited a check from Client 9 for

   $225,000 payable to Kingdom Advisors and subsequently, directed $224,000 to his personal

   bank account.

                                                 Client JO

            115.   In or about April 2013 , MEYER and Garuda marketed and sold the Ultimate Tax

   Plan to Client 10 as a way for Client 10 to claim a false charitable contribution tax deduction for

   201 2.

            116.   On or about the dates and amounts below, MEYER and Garuda assisted Client 10

   in filing false Forms 1040 claiming charitable contribution tax deductions as follows:

             TAX YEAR             APPROXIMATE                CLAIMED CHARITABLE
                                  DATE OF FILING                 DEDUCTIONS
                20 12                6/ 18/20 13                   $252,000
                2013                 4/15/20 14                    $156,600
                20 14                 7/3/20 15                    $195,750
                20 15                 8/4/20 16                    $160,000
               TOTAL                                               $764,350

            117.   In or about January and February 20 17, MEYER, Fischel, and Garuda offered

   and executed an agreement in which Client 10 purchased back their purported donated interest in

   their Entity for $10,000.

                                    Responses to the Injunction Lawsuit

            118.   After the Injunction Suit was filed, in May or June 2018, Fischel, MEYER, and

   Garuda agreed to create and backdate Transaction documents and written acknowledgments

   from the Charities for the purported donations made by their clients.
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          119.    In or about June 2018 , MEYER prepared backdated issuance documents,

   assignment documents, and written acknowledgement letters for clients. MEYER instructed

   Fischel to send the backdated documents by mail or deliver in person to clients to sign.

          120.    In or about June 2018, after Client 10 received a civil subpoena from the United

   States requesting documents, MEYER, Garuda, and Fischel prepared and caused to be prepared

   backdated promissory notes, a backdated attorney engagement agreement, backdated written

   acknowledgments, and backdated issuance and assignment documents for Client 10.

          121.    In or about June 2018, MEYER, Fischel and Garuda caused Client 10 to send the

   backdated promissory notes, backdated written acknowledgements, backdated issuance and

   assignment documents, and the backdated attorney engagement agreement in response to the

   civil subpoena.

          122.    In or about June 2018, after Clients 11 and 12 each received a civil subpoena from

   the United States requesting documents, MEYER, Garuda, and Fischel prepared and caused to

   be prepared backdated written acknowledgments and backdated issuance and assignment

   documents for Clients 11 and 12.

          123 .   In or about July 2018, MEYER, Fischel and Garuda caused Clients 11 and 12 to

   send the backdated issuance and assignment documents in their responses to the civil subpoenas.

          124.    In or about August 2018, MEYER provided an alternate email address to Fischel

   and others to use in sending MEYER the executed backdated documents.

          125 .   In or about August or September 2018, after Client 13 received a civil subpoena

   from the United States requesting documents, MEYER, Garuda, and Fischel prepared and

   caused to be prepared backdated written acknowledgments and backdated issuance and

   assignment documents for Client 13 .

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          126.    In or around September 2018, MEYER, Fischel and Garuda caused Client 13 to

   send the backdated written acknowledgements and backdated issuance and assignment

   documents in response to the civil subpoena.

          127.    On or about September 5, 2018, after MEYER informed Fischel that he was still

   missing signed copies of the issuance and assignment documents for Clients 8 and 13, Fischel

   emailed MEYER, using MEYER's alternate email address, the backdated issuance and

   assignment documents for those clients.

          128.    In or about November 2018, MEYER, Fischel and Garuda caused ACA to

   include in its response to a civil subpoena from the United States, among other things, backdated

   written acknowledgements and backdated issuance and assignment documents for clients,

   including Clients 4, 10, and 13.

          All in violation of 18 U.S.C. § 371.

                                                Count Two
                                               Tax Evasion
                                             26 U.S.C. § 7201

          129.    The Deputy Assistant Attorney General realleges and incorporates by reference

   the factual allegations in paragraphs 1 through 128 of this Information.

          130.    Beginning at least in or about January 2017 through in or about October 2017,

   within the Southern District of Florida and elsewhere, the defendant,

                                       MICHAEL L. MEYER,

   willfully attempted to evade and defeat substantial income tax due and owing by Client 2 to the

   United States of America, for the calendar year 2016, by committing the following affirmative

   acts, among others:



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              a. Between in or about January and September 2017, MEYER marketed and sold

                 the Ultimate Tax Plan to Client 2 as a way for Client 2 to claim a false charitable

                 contribution tax deduction for tax year 2016.

              b. In or about April 2017, MEYER prepared and caused to be prepared Transaction

                 documents for Client 2. The Transaction documents were backdated to 2016 to

                 make it appear as if the Ultimate Tax Plan was executed in the prior year. Client

                 2 signed the backdated Transaction documents.

              c. On or about September 7, 20 17, MEYER prepared and caused to be prepared an

                 Appraisal Form 8283 for Client 2 that falsely reported that Client 2 made a

                 charitable contribution on December 31 , 2016, valued at $881 ,100. MEYER

                 falsely declared on the Appraisal Form 8283 that he was a qualified appraiser and

                 that the appraisal fees were not based on a percentage of the appraised property

                 value.

              d. On or about October 16, 2017, MEYER caused Client 2 to file a false 2016 Form

                  1040 claiming an $88 1,100 charitable contribution tax deduction.

          All in violation of26 U.S .C. § 7201 and 18 U.S.C. § 2.



   DAVID A. HUBBERT
   Deputy Assistant Attorney General
   U.S . Department of Justice, Tax Division


   By:
               HAEL C. BOTELER
          Assistant Chief
          ANDREW P. ASCENCIO
          Trial Attorney
          Department of Justice, Tax Division

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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                          CASE NO.: 23-CR-60 129-KMM

v.
                                                                  CERTIFICATE OF TRIAL ATTORNEY
MICHAEL L. MEYER,
- - - - -- - - - - - - - - -I                                     Superseding Case Information:
                                                                  New Defendant(s) (Yes or No) No
                                                                                               ---
Court Division (select one)                                       N umber of New Defendants
          □ Miami         □ Key West        □ FTP                 Total number of counts 2
          ~FTL            □ WPB

1 do hereby certify that:
   1.   I have carefully considered the al legations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.    I am aware that the information supplied on this statement wil l be relied upon by the Judges of this Court in setting
        their calendars and sched uli ng criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161 .

     3.     Interpreter: (Yes or No) No
                                     ---
            List language and/or dialect:
                                          -------
     4.     This case wi II take _o_ days for the parties to try .

     5.     Please check appropriate category and type of offense listed below:
            (Check onl y one)                         (Check only one)
            I     18:] 0 to 5 days                 □ Petty
            II    D 6 to 10 days                   D Minor
            III   D 11 to 20 days                  D Misdemeanor
            IV    D 2 1 to 60 days                 1'E1 Fe lony
            V     D 61 days and over
     6.     Has this case been previously filed in this District Court? (Yes orNo)_N_o_ _
            If yes, Judg e _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ __
     7.     Has a complaint been fi led in this matter? (Yes or No) -   No- -
            Ifyes, Magistrate Case No . _ _ _ _ _ _ _ _ _ _ __
     8.     Does this case relate to a previously filed matter in this District Court? (Yes or No) -No- -
            lf yes, Judg e _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     9.     Defendant(s) in federal custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     10.    Defendant(s) in state custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     11.    Rule 20 from the _ _ _ _ District of - - - - - - -
     12.    ls this a potential death penalty case? (Yes orNo) _N_o_ _
     13.    Does this case originate from a matter pending in the Northern Region of the U.S. Atto rney's Office
            prior to August 8, 20 14 (Mag. Judge Shaniek Maynard? (Yes or No) No
                                                                                     ---
     14.    Does this case originate from a matter pending in the Central Region of th e U.S. Attorney ' s Office
            prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
                                                                                   ---
     15.    Did this matter invo lve the participation of or co nsu ltation with now Magistrate Judge Eduardo I. Sanchez
            during hi s tenure at the U.S. Attorney ' s Office, which concl uded on January 22, 2023? _N_o_ _



                                                                  By     ~        P j . ! :io
                                                                         DOJ Trial Attorney
                                                                         Co urt ID No .   A5502950
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                              U ITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

   Defendant's    ame: MICHAEL L. MEYER

   Case No :   23-CR-60129-KMM

   Count#: 1

   18 U.S.C. § 371 - Conspiracy to Defraud the United States


   *Max.Term oflmprisonment: Five Years
   * Mandatory Min. Term oflmprisonment (if applicable): NIA
   * Max. Supervised Release: Three Years
   * Max. Fine: $250,000

   Count#:2

   26 U.S.C. § 720 1 - Tax Evasion


   * Max. Term of Imprisonment: Five Years
   * Mandatory Min. Term of Imprisonment (if applicable): NIA
   * Max. Supervised Release: Three Years
   * Max. Fine: $250,000

   Count #:




   * Max. Term of Imprisonment:
   * Mandatory Min. Term oflmprisonment (if applicable):
   * Max. Supervised Release:
   * Max.Fine:




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
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AO 455 (Rev O1/09) Waiver of an Indictment


                                      UNITED STATES DISTRICT COURT
                                                           for the
                                                Southern District of Florida

                  Uni ted States of America                  )
                                V.                           )       Case No.   23-CR-60129-KMM
                    MICHAEL L. MEYER                         )
                                                             )
                            Defendant                        )

                                              WAIVER OF AN INDICTMENT

        I understand that I have been acc used of one or more offenses puni shabl e by impri sonm ent for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

        After receiving this advice, I waive my right to prosecution by indi ctment and consent to prosecution by
information.



Date:
                                                                                       Defendant's signature




                                                                                 Signature of defendant's allorney



                                                                                Printed name of defendant's allorney




                                                                                         Judge's signature



                                                                                   Judge's printed name and title
